                 Case 14-31182-lkg     Doc 49    Filed 09/07/18   Page 1 of 2




               IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS


IN RE:                                                                      In Proceedings
                                                                            Under Chapter 7
Sean David Adams and Kasandra Jeanette Adams
                                                                            BK 14−31182−lkg

             Debtor(s)

SSN/Individual Taxpayer ID Number (ITIN):
xxx−xx−6102 xxx−xx−0425



                                          ORDER

    This matter is before the Court sua sponte. On 6/29/18, the above captioned bankruptcy case
was reopened. All pleadings and/or documents relating to the motion/petition to reopen have
since been filed and/or processed, and the case may now be closed.
    Accordingly, IT IS ORDERED that this case is CLOSED.


ENTERED: September 5, 2018                               /s/ Laura K. Grandy
                                                         UNITED STATES BANKRUPTCY JUDGE
                             Case 14-31182-lkg             Doc 49        Filed 09/07/18         Page 2 of 2
                                               United States Bankruptcy Court
                                               Southern District of Illinois
In re:                                                                                                     Case No. 14-31182-lkg
Sean David Adams                                                                                           Chapter 7
Kasandra Jeanette Adams
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0754-3                  User: ch3                          Page 1 of 1                          Date Rcvd: Sep 05, 2018
                                      Form ID: 239                       Total Noticed: 4


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 07, 2018.
db            #+Sean David Adams,   525 Stonefield Dr,   Smithton, IL 62285-1556
cr             +Anselmo Lindberg & Associates LLC,   1771 W Diehl Rd Ste 120,    Naperville, IL 60563-4917
jtdb          #+Kasandra Jeanette Adams,   525 Stonefield Dr,   Smithton, IL 62285-1556
cr             +US Bank National Association, as Trustee for SASCO,   Andrew J. Cecere President,
                 425 Walnut St,   Cincinnati, OH 45202-3956

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 07, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 5, 2018 at the address(es) listed below:
              Kathryn A Klein   on behalf of Creditor    Vantage Credit Union rb_bank@riezmanberger.com,
               riezmanberger@gmail.com
              Robert E Eggmann   reetrustee@carmodymacdonald.com,
               MO44@ecfcbis.com;reggmann@ecf.epiqsystems.com;ala@carmodymacdonald.com;emr@carmodymacdonald.com;r
               ee@trustesolutions.net;jab@carmodymacdonald.com
              Ronald Allan Buch   on behalf of Debtor Sean David Adams Belleville@tbcwam.com,
               G38416@notify.cincompass.com
              Ronald Allan Buch   on behalf of Joint Debtor Kasandra Jeanette Adams Belleville@tbcwam.com,
               G38416@notify.cincompass.com
              United States Trustee    USTPRegion10.es.ecf@usdoj.gov
                                                                                             TOTAL: 5
